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1    JOSEPH SCHLESINGER, #87692
     Acting Federal Defender
2    PEGGY SASSO, CA Bar #228906
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    RUFINO OROZCO-MARTINEZ
7
                                  IN THE UNITED STATES DISTRICT COURT
8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,             )            NO. 1:12-cr-0299 LJO
                                           )
12                     Plaintiff,          )
                                           )            STIPULATION TO ADVANCE CHANGE OF
13         v.                              )            PLEA HEARING; ORDER
                                           )
14   RUFINO OROZCO-MARTINEZ,               )            Date: January 28, 2013
                                           )            Time: 8:30 a.m.
15                     Defendant.          )            Judge: Hon. Lawrence J. O’Neill
                                           )
16                                         )
     _____________________________________ )
17
18          IT IS HEREBY STIPULATED by and between the parties through their respective counsel,
19   Assistant United States Attorney Karen A. Escobar, Counsel for Plaintiff, and Assistant Federal Defender
20   Peggy Sasso, Counsel for Defendant Rufino Orozco-Martinez, that the status conference currently set for
21   February 4, 2013 at 1:00 p.m., may be advanced and rescheduled to January 28, 2013, at 8:30 a.m for
22   a change of plea hearing.
23          The parties have entered into a plea agreement and have agreed to set the matter for a change of
24   plea January 28, 2013.
25   ///
26   ///
27   ///
28   ///
             Case 1:12-cr-00299-LJO-SKO Document 54 Filed 01/24/13 Page 2 of 2


1                                                                 BENJAMIN B. WAGNER
                                                                  United States Attorney
2
3             Dated: January 23, 2013                             /s/ Karen A. Escobar
                                                                  KAREN A. ESCOBAR
4                                                                 Assistant United States Attorney
                                                                  Attorney for Plaintiff
5
6                                                                 JOSEPH SCHLESINGER
                                                                  Acting Federal Defender
7
8             Dated: January 23, 2013                             /s/ Peggy Sasso
                                                                  PEGGY SASSO
9                                                                 Assistant Federal Defender
                                                                  Attorney for Defendant
10                                                                RUFINO OROZCO-MARTINEZ
11
12
13
14
15                                                        ORDER
16                     IT IS SO ORDERED.
17   Dated:       January 24, 2013                     /s/ Lawrence J. O'Neill   B9ed48
                                                       UNITED STATES DISTRICT JUDGE
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     Stipulation to Advance Hearing [PROPOSED ORDER]        -2-
